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made no effort to exclude such fees from its overbroad request, the Court denied
the motion, finding that Vubiquity failed to meet its burden of establishing the
amount of the reasonable fees to which it was entitled.1

     Vubiquity now moves for reconsideration on several grounds. None of them
has merit.

II.     LEGAL STANDARD

       Motions to alter a judgment or for reconsideration may be brought under
Fed. R. Civ. P. 59(e) or 60(b). Fuller v. M.G. Jewelry, 950 F.2d 1437, 1442 (9th
Cir. 1991).

       A Rule 59(e) motion may be granted when (1) the judgment is based on
manifest errors of law or fact, (2) the moving party presents newly discovered or
previously unavailable evidence, (3) it is necessary to prevent manifest injustice, or
(4) there is an intervening change in controlling law. Turner v. Burlington N. Santa
Fe R.R. Co., 338 F.3d 1058, 1063 (9th Cir. 2003); McDowell v. Calderon, 197
F.3d 1253, 1255 (9th Cir. 1999). Relief through Rule 59(e) is generally reserved
for highly unusual circumstances. School Dist. No. 1J, Multnomah County v.
ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993). Rule 59(e) is not a vehicle to
rehash arguments previously presented, or to present “contentions which might
have been raised prior to the challenged judgment.” Costello v. United States, 765
F. Supp. 1003, 1009 (C.D. Cal. 1991).

       Rule 60(b) allows for reconsideration only upon a showing of (1) mistake,
inadvertence, surprise, or excusable neglect; (2) newly discovered evidence that by
due diligence could not have been discovered before the court’s decision; (3) fraud
by the adverse party; (4) a void judgment; (5) a satisfied or discharged judgment;
or (6) any other reason justifying relief. See Fed. R. Civ. P. 60(b). Subparagraph
(6) requires a showing of extraordinary grounds for relief. Twentieth Century-Fox
Film Corp. v. Dunnahoo, 637 F.2d 1338, 1341 (9th Cir. 1981). The mere belief
that the court’s decision was wrong does not justify reconsideration. Id.

        Additionally, a court always retains the “inherent power to reconsider and

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  Courts often resolve fees motions by first determining whether the moving party
is entitled to recover fees, and then, if so, determining the amount. Here, because
Vubiquity’s fee request was plainly overbroad, the Court denied it on that basis
and did not address whether Vubiquity established that it was entitled to fees.

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modify its interlocutory orders prior to the entry of judgment.” Smith v.
Massachusetts, 543 U.S. 462, 475 (2005) (internal quotes omitted). In this district,
Local Rule 7-18 provides that motions for reconsideration made pursuant to the
court’s independent authority

         … may only be made because of (a) a material difference in fact or law from
         that presented to the Court before such decision that in the exercise of
         reasonable diligence could not have been known to the party moving for
         reconsideration at the time of such decision, or (b) the emergence of new
         material facts or a change of law occurring after the time of such decision, or
         (c) a manifest showing of a failure to consider material facts presented to the
         Court before such decision.

       A motion for reconsideration may not repeat any oral or written argument
made in support of or in opposition to the original motion. Id. Indeed, “a mere
attempt by [the moving party] to reargue its position by directing [the] court to
additional case law and . . . argument[s] which [it] clearly could have made earlier,
but did not . . . is not the purpose of motions for reconsideration . . . .” Yang Ming
Marine Transp. Corp. v. Oceanbridge Shipping Int’l, Inc., 48 F. Supp. 2d 1049,
1057 (C.D. Cal. 1999).

III.     DISCUSSION

       Vubiquity invokes Local Rule 7-18(c), which provides for reconsideration
based on “a manifest showing of a failure to consider material facts presented to
the Court before such decision.” Vubiquity states that the Court did “not fully
consider[]” the following material facts: “(1) Vubiquity only specifically moved
for fees under 17 U.S.C. § 505; (2) fees for the copyright claim can be awarded in
a ‘practicable’ [way] [sic] by awarding fees incurred from February 2023, after the
copyright claim became the only remaining claim in the action; (3) Plaintiff did not
raise the issue of apportionment between claims; and (4) that Vubiquity
substantiated its entitlement to such fees with evidence.” None of this warrants
reconsideration.

      First, the Court did clearly consider that Vubiquity only moved for fees
under § 505: indeed, that was an express premise of the Court’s order—that
Vubiquity moved only under § 505, but sought fees beyond the scope of § 505.

      Second, Vubiquity did not present to the Court its current position that fees
could be awarded in a practicable way by just awarding fees incurred since

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February 2023, when, according to Vubiquity, the copyright claims became the
only remaining claims in the action. Instead, in its fees motion, Vubiquity simply
sought all fees incurred for all claims for the duration of the case, including non-
copyright claims. Furthermore, despite Vubiquity’s current argument that February
2023 is when the copyright claims became the only claim in the case, the docket
shows no entries between 01/12/2023 and 06/30/2023, so it is not clear how the
Court could have identified February 2023 as a reasonable fees cut-off date.2
Vubiquity’s footnote 3 shows that it apparently knew that fees incurred on Lanham
Act claims were not recoverable under § 505, and yet it included those fees in its
request. Now, Vubiquity faults the Court for not solving the problem of its own
making in its preferred way. Vubiquity now states, albeit only in the conclusion to
its opening brief, that the post-February 2023 fees total $301,686.50. But again,
Vubiquity failed to make any part of this proposal in its original motion. “[A] mere
attempt by [the moving party] to reargue its position by directing [the] court to. . .
argument[s] which [it] clearly could have made earlier, but did not . . . is not the
purpose of motions for reconsideration . . . .” Yang Ming Marine Transp. Corp., 48
F. Supp. 2d at 1057. It is therefore inaccurate to characterize this as the Court
failing to consider material facts presented to it in Vubiquity’s fees motion.

        Third, that LIVN did not raise the issue of apportionment between the claims
does not put that issue beyond the Court’s reach. It was Vubiquity’s burden in the
first instance to put forth a reasonable fee request, which means not including in its
request a whole category of fees that it obviously could not recover. Including
facially unrecoverable fees is unreasonable. The Court recognized Vubiquity’s
failure to meet its burden and was within its authority to enforce that burden.

       Fourth, Vubiquity argues that it presented evidence in support of its fee
request. It is true that Vubiquity did file about 150 pages of bills and invoices
reflecting all of the hours expended to defend against all of LIVN’s claims from
the beginning of the lawsuit. See Lackman Decl. Ex. B (Dkt. No. 115-1). But just
like the fee request itself, this submission was overbroad because it includes fees
for unrecoverable Lanham Act work, and therefore this set of invoices as a whole
does not support a reasonable fee request. Perhaps Vubiquity expected the Court to

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  The fees motion states, in passing, that the Court dismissed LIVN’s state law
claims, “leaving its copyright infringement claim as its sole remaining claim. ECF
48.” But the order at Dkt. No. 48 was entered on 11/21/2022, so it is not clear why
Vubiquity identifies February 2023 as the time at which only the copyright claim
remained. More importantly, Vubiquity’s fees motion did not rely on that bit of
procedural history for determining a proposed reasonable fee.

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review those 150 pages of invoices, identify those invoices for work incurred
through February 2023, and eliminate the fees from the total, but again, this was
Vubiquity’s job in its fees motion.

        In sum, Vubiquity filed a fees motion that was facially overbroad, and after
the Court denied the motion on that basis, now argues for reconsideration because
the Court itself did not correct for that shortcoming by (1) determining the date by
which only copyright claims remained, a date that Vubiquity asserts is February
2023 but which is not supported by the docket; (2) deciding that that date would be
the proxy for fees recoverable under § 505, even though copyright claims were
litigated before then; (3) going through the invoices to eliminate the fees billed up
to that date; and (4) generating, on its own, the resulting fee amount. Courts often
do award fees in amounts different from what was requested, but it was
Vubiquity’s burden to undertake something like the foregoing steps and to propose
a reasonable fee in its fees motion. That the Court did not undertake this process on
its own does not reflect a “failure to consider material facts presented to the
Court.”

        The Court declines Vubiquity’s alternative request to renew its fees motion.

IV.     CONCLUSION

    For the foregoing reasons, Vubiquity’s Motion for Reconsideration is
DENIED.

      Vubiquity must file a proposed Judgment within 5 days of this Order. LIVN
has 5 days thereafter to object as to form.

        IT IS SO ORDERED.




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